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                        EXHIBIT A
      Case 2:21-cv-01272 Document 1-1 Filed 02/11/21 Page 2 of 28 Page ID #:29



                                                                   Ironshore Insurance Services LLC.
                                                              A subsidiary of Ironshore Holdings (U.S.) Inc.
                                                                        175 Powder Forest Drive
                                                                                 1st Floor
                                                                         Weatogue, CT 06089



May 29, 2018

Collin Wedel
Chivaroli & Associates, Inc.
200 N. Westlake Boulevard
Suite 101
Westlake Village, CA 91362

                 Re:   University of Southern California
                       3434 South Grand Avenue, CAL 120 - H
                       Los Angeles, CA 90089
   Line Of Business:   Healthcare Professional Liability – Excess
     Policy Number:    001727904
        Policy Term:   7/1/2017 TO 7/1/2018

Dear Collin:

Enclosed please find the policy for the above referenced account. We appreciate your consideration of
Ironshore. Feel free to contact me with any questions or concerns.


Sincerely,




Nicole Hayes
Vice President
Ironshore Insurance Services LLC.
Office: +1 (860) 408-7803
Mobile: +1 (860) 713-4261
Email: nicole.hayes@ironshore.com
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                             IRONSHORE SPECIALTY INSURANCE COMPANY
                                                    Mailing Address:
                                                   75 Federal Street
                                                       5th Floor
                                                 Boston, MA 02110
                                               Toll Free: (877) IRON411

                                                     Endorsement # 1

Policy Number: 001727904                                                     Effective Date of Endorsement: July 01, 2017
Insured Name: University of Southern California




                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                       OFAC COMPLIANCE NOTICE
Payment of Loss under this Policy shall only be made in full compliance with all United States of America economic or trade
sanction laws or regulations, including, but not limited to, sanctions, laws and regulations administered and enforced by the
U.S. Treasury Department's Office of Foreign Assets Control ("OFAC").


All other terms and conditions of this Policy remain unchanged.




                                                                  May 29, 2018
 Authorized Representative                                        Date




OFAC.END.001 (11.14 ed.)                                                                                         Page: 1 of 1
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                            IRONSHORE SPECIALTY INSURANCE COMPANY
                                                   Mailing Address:
                                                  75 Federal Street
                                                      5th Floor
                                                Boston, MA 02110
                                              Toll Free: (877) IRON411

                                                    Endorsement # 2

Policy Number: 001727904                                                   Effective Date of Endorsement: July 01, 2017
Insured Name: University of Southern California



                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                 CHARITABLE SERVICES COVERAGE
In consideration of the premium charged,

(1)   If coverage is afforded under the Underlying Insurance for any Charitable Services Claim (as defined below), the
      Underwriter shall provide the Insured with insurance excess of such Underlying Insurance, subject to all of the
      terms, conditions, and endorsement of this Policy.

(2)   If, for any reason, coverage is not afforded under the Underlying Insurance for any Charitable Services Claim, this
      Policy shall drop down and the Underwriter shall pay on behalf of the Insured Individual (as defined below) any loss,
      damages or settlements, including cost and expenses of defense, that the Insured Individual is legally obligated to
      pay as a result of such Charitable Services Claim, subject to the terms and conditions of this endorsement.

(3)   The Underwriter’s maximum limit of liability for any Charitable Services Claim shall be $1,000,000; the
      Underwriter’s maximum aggregate limit of liability for all Charitable Services Claims happening during the Policy
      Period shall be $1,000,000. Such amounts shall be in addition to, and not part of, the Underwriter’s maximum
      aggregate Limit of Liability set for in ITEM 3 of the Declarations. Payment of the Underwriter’s maximum aggregate
      limit of liability for all Charitable Services Claims shall terminate the Underwriter’s obligation to pay any further
      Charitable Services Claim(s) under paragraph (2) above.

(4)   The Underwriter’s obligation to pay loss, damages or settlements, including costs and expenses of defense, for any
      Charitable Services Claim shall be excess of a self-insured retention of $0 per Charitable Services Claim. The Insured
      shall be responsible for payment in full of such self-insured retention.

(5)   For purposes of this endorsement, the following terms shall have the meanings ascribed to them below:

      (a)    “Charitable Services” means the voluntary provision of Medical Services (as defined below) by an Insured
             Individual at the request, or with the permission, of the Insured, and without compensation or payment to
             the Insured Individual of any kind. Charitable Services may be performed anywhere in the world.




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      (b)    “Charitable Services Claim” means any written demand received by an Insured Individual for monetary
             damages, or any notice of any event reasonably expected to result in such a demand, resulting from a
             Charitable Services Wrongful Act (as defined below) which is first made against such Insured Individual
             during the Policy Period. All such demands arising out of a single Charitable Services Wrongful Act shall be
             considered one Charitable Services Claim.

      (c)    “Charitable Services Wrongful Act” means any actual or alleged act, error or omission, or series of acts, errors
             or omissions, by an Insured Individual in rendering, or failing to render, Charitable Services on or after the
             Retroactive Date (as defined below).

      (d)    “Insured Individual” means any person – including any Medical Practitioner (as defined below) – who has an
             assigned work schedule for, and is on the regular payroll of, the Insured, with federal and state taxes
             withheld. An Insured Individual’s status as such shall be determined as of the date of the Charitable Services
             Wrongful Act upon which a Charitable Services Claim involving the Insured Individual is based.

      (e)    “Medical Practitioner” means any clinical professional including, without limitation, a physician, surgeon,
             intern, extern, physician’s assistant, licensed or registered nurse, certified nurse’s assistant, certified
             registered nurse anesthetist, osteopathic physician and surgeon, podiatrist or dentist.
      (f)    “Medical Services” means health care, medical care, or treatment provided to any individual, including
             without limitation any of the following: medical, dental, psychiatric, mental health, chiropractic, osteopathic,
             nursing, or other professional health care; the furnishing or dispensing of medications, drugs, blood, blood
             products, or medical, dental, or psychiatric supplies, equipment, or appliances in connection with such care;
             the furnishing of food or beverages in connection with such care; the providing of counseling or other social
             services in connection with such care.

      (g)    “Retroactive Date” means 7/1/17.

(6)   No coverage will be available under this endorsement for:

      (a)    Punitive or exemplary damages, or the multiplied portion of any multiplied damage award;

      (b)    Any Charitable Services Claim based on or arising out of a Charitable Services Wrongful Act committed or
             allegedly committed prior to the Retroactive Date;

      (c)    Any Charitable Services Claim based on or arising out of the rendering, or failure to render, Medical Services
             by someone that is not an Insured Individual;

       (d)   Any Charitable Services Claim for liability under any contract or agreement;

      (e)    Any Charitable Services Claim for injury to a person which is based on or arises out of employment-related
             practices, policies, acts or omissions, including the hiring and firing, promotion or demotion, performance
             evaluation, compensation, discipline, retirement, layoff, transfer, harassment, humiliation or discrimination;

      (f)    Any Charitable Services Claim based on or arising out of defamation, libel, or slander;

      (g)    Any Charitable Services Claim based on or arising out of criminal or fraudulent acts, whether or not related to
             Medical Services;

      (h)    Ay Charitable Services Claim based on or arising out of conduct of a sexual nature, whether or not such
             conduct involves the rendering of Medical Services;

      (i)    Any Charitable Services Claim based on or arising out of a Charitable Services Wrongful Act committed or
             allegedly committed while the Insured Individual’s license to practice medicine or license as a health care
             provider was suspended or revoked;




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       (j)   Any Charitable Services Claim based on or arising out of discrimination in providing Medical Services to a
             patient on the basis of religion, race, sex, age, medical condition or any other basis prohibited by law;

       (k)   Any Charitable Services Claim based on or arising out of any Charitable Services Wrongful Act in which the
             Insured Individual, or someone at the direction of the Insured Individual, altered, destroyed, or partially
             altered or destroyed, any medical or other record for the purpose of concealing any injury, act, error, omission
             or responsibility related to the Charitable Services Claim, whether or not any criminal proceedings or
             penalties result;

       (l)   Any Charitable Services Claim based on or arising out of any oral or written statement or publication, whether
             by or at the Insured Individual’s direction, with the Insured Individual’s knowledge that it is untrue; or
             advertising, publishing, broadcasting, or promotion;

       (m)   Any Charitable Services Claim based on or arising out of any ownership, rental, occupancy, maintenance or
             use of any premises;

       (n)   Any Charitable Services Claim based on or arising out of an Insured Individual’s illegal abuse of alcohol, drugs
             or other substance.
(7)    The Insured must notify the Underwriter of (i) a Charitable Services Claim as soon as practicable after the Charitable
       Services Claim is first made against an Insured Individual, and (ii) a Charitable Services Wrongful Act that an Insured
       Individual reasonably believes could result in a Charitable Services Claim as soon as practicable after the Charitable
       Services Wrongful Act first occurs. Such notice shall give full particulars of the Charitable Services Claim or Charitable
       Services Wrongful Act, including, but not limited to, a description of the Charitable Services Wrongful Act; the
       identity of the patient, all potential claimants and health care provider(s) and any Insured Individuals involved; a
       description of the injury or damages that may result from such Charitable Services Wrongful Act; information on the
       time, place and nature of the Charitable Services Wrongful Act; the manner in which the Insured first became aware
       of such Charitable Services Wrongful Act; and the reasons the Insured believes the Charitable Services Wrongful Act
       is likely to result in a Charitable Services Claim.

(8)    The Underwriter has the right and duty to defend any Charitable Services Claim, even if any of the allegations of such
       Charitable Services Claim are groundless, false or fraudulent. No Insured Individual or other Insured under the Policy
       shall, except at its own cost, incur any expense, make any payment, admit liability for, assume any obligation, or
       settle any Charitable Services Claim without the Underwriter’s written consent. With respect to any Charitable
       Services Claim, the Underwriter will have the right to investigate, direct the defense, and conduct settlement
       negotiations it deems appropriate. The Underwriter may make any settlement of any Charitable Services Claim which
       it deems appropriate.

(9)    The Insured Individual(s) shall cooperate fully with the Underwriter, including providing the Underwriter with all
       relevant facts that might assist the Underwriter in the investigation and defense of a Charitable Services Claim;
       attending meetings and court-related proceedings; and providing any other assistance reasonably requested by the
       Underwriter. It is expressly understood and agreed that lack of such full cooperation by the Insured Individual(s)
       shall constitute grounds for voidance of the coverage afforded under this endorsement.

(10)   The coverage afforded under this endorsement applies to Charitable Services Wrongful Acts taking place anywhere
       in the world. Any Charitable Services Claim or suit must be made against an Insured, however, in the United States
       of America, including its territories or possessions, Puerto Rico, or Canada.

(11)   Notwithstanding anything to the contrary contained in this endorsement, the Underwriter shall not be liable under
       this endorsement for any loss, damages or settlements, including cost and expenses of defense, in connection with a
       Charitable Services Claim for which the Insured or the Insured Individual has coverage under any other insurance
       policy, regardless of whether such policy is stated to be primary, contributory, excess, contingent, or otherwise.




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All other terms, conditions and limitations of this Policy shall remain unchanged.




                                                                May 29, 2018
 Authorized Representative                                      Date




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                             IRONSHORE SPECIALTY INSURANCE COMPANY
                                                     Mailing Address:
                                                    75 Federal Street
                                                        5th Floor
                                                  Boston, MA 02110
                                                Toll Free: (877) IRON411

                                                       Endorsement # 3

Policy Number: 001727904                                                    Effective Date of Endorsement: July 01, 2017
Insured Name: University of Southern California



                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     GRACE PERIOD FOR NOTICE OF CIRCUMSTANCES UPON RENEWAL OF
                      POLICY (WITH CONTINUITY)
In consideration of the premium charged

1.    In the event that this Policy is renewed by the Insurer,

      (a)    Clause (2) of Section VI, Notice, shall be amended to read as follows:

            “(2)    any matter, including a Notice of Circumstance, with respect to which notice has been provided under
                    any Underlying Insurance; provided, that the Insured shall give the Insurer notice of any Notice of
                    Circumstance involving professional liability coverage as soon as practicable, but in no event later than
                    sixty (60) days after the expiration of the Policy Period.

      (b)    it is understood and agreed that the amendment set forth in clause (a) above shall apply only in the event this
             Policy is renewed by the Insurer. In the event that this Policy is not renewed by the Insurer, Section VI of the
             Policy shall remain unchanged, such that as a condition precedent to any right to payment of the Insured
             under this Policy, the Insured shall give the Insurer notice of any Notice of Circumstance involving professional
             liability coverage as soon as practicable, but in no event later than the expiration of the Policy Period.

2.    Notwithstanding anything to the contrary contained in this Policy, if this Policy is a renewal of one or more policies
      previously issued by the Insurer to the Insured, and the coverage provided by the Insurer to the Insured was in
      effect, without interruption, for the entire time between the inception date of the first such other policy and the
      Inception Date of this Policy, the reference in clause (2) of Section VI, Notice (as amended in paragraph 1(a) above),
      to the Policy Period will be deemed to refer to the period from (i) the inception date of the first policy under which
      the Insurer began to provide the Insured with the continuous and uninterrupted coverage of which this Policy is a
      renewal, to (ii) the Expiration Date set forth in ITEM 2(b) of the Declarations; provided, that in the event that any
      Underlying Insurance refuses to accept a Notice of Circumstance that the Insurer accepts by reason of this
      endorsement, in no event will this Policy drop down to provide coverage any earlier or to any greater extent than it
      would have if such Underlying Insurance had accepted such Notice of Circumstance.




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ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS OF THIS POLICY REMAIN UNCHANGED.




                                                    May 29, 2018
 Authorized Representative                          Date




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                             IRONSHORE SPECIALTY INSURANCE COMPANY
                                                   Mailing Address:
                                                  75 Federal Street
                                                      5th Floor
                                                Boston, MA 02110
                                              Toll Free: (877) IRON411

                                                    Endorsement # 4

Policy Number: 001727904                                                  Effective Date of Endorsement: July 01, 2017
Insured Name: University of Southern California



                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                             ADDITIONAL COVERAGE ENDORSEMENT
In consideration of the premium charged,

1.    In addition to the coverage afforded under Section I, INSURING AGREEMENTS, of the Policy, and subject to all of the
      terms, conditions and limitations of this Endorsement, the Insurer agrees as follows:

      (A)   Evacuation Expense Reimbursement Insurance:
            Upon satisfactory proof of payment by the Insured, the Insurer will reimburse the Insured up to $25,000 for
            Evacuation Expense actually paid by the Insured during the Policy Period in connection with an Evacuation
            occurring during the Policy Period.

      (B)   Public Relations Expense Reimbursement Insurance:
            Upon satisfactory proof of payment by the Insured, the Insurer will reimburse the Insured up to $25,000 for
            Public Relations Expense actually paid by the Insured during the Policy Period in connection with a Public
            Relations Event occurring during the Policy Period, provided that the Insurer will have no liability whatsoever
            for fines, penalties, assessments of costs or other financial awards associated with any such Public Relations
            Event.

      (C)   Disinfection Expense Reimbursement Insurance:
            Upon satisfactory proof of payment by the Insured, the Insurer will reimburse the Insured up to $25,000 for
            Disinfection Expense actually paid by the Insured during the Policy Period in connection with a Disinfection
            Event occurring during the Policy Period.

      (D)   Abduction Reimbursement Insurance:
            Upon satisfactory proof of payment by the Insured, the Insurer will reimburse the Insured up to $25,000 for
            Abduction Expense actually paid by the Insured during the Policy Period in connection with an Abduction
            occurring during the Policy Period.

      (E)   Personal Information Protection Expense Reimbursement Insurance:
            Upon satisfactory proof of payment by the Insured, the Insurer will reimburse the Insured up to $25,000 for
            Personal Information Protection Expense actually paid by the Insured during the Policy Period in connection



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            with a Personal Information Protection Event occurring during the Policy Period, provided that the Insurer
            will have no liability whatsoever for fines, penalties, assessments of costs or other financial awards associated
            with any such Personal Information Protection Event.

      (F)   Medical Waste Civil Fines Reimbursement Insurance:
            Upon satisfactory proof of payment by the Insured, the Insurer will reimburse the Insured up to $25,000 for
            Medical Waste Civil Fines actually paid by the Insured during the Policy Period in connection with a Medical
            Waste Event occurring during the Policy Period.

      (G)   Legal Defense Expense Reimbursement Insurance:
            Upon satisfactory proof of payment by the Insured, the Insurer will reimburse the Insured up to $25,000 for
            Legal Defense Expense actually paid by the Insured during the Policy Period in connection with a Legal
            Defense Event occurring during the Policy Period.

      (H)   Government Billing Legal Expense Reimbursement Insurance:
            Upon satisfactory proof of payment by the Insured, the Insurer will reimburse the Insured up to $25,000 for
            Government Billing Legal Expense actually paid by the Insured during the Policy Period in connection with a
            Government Billing Event occurring during the Policy Period.

2.    The Insurer’s maximum aggregate limit for all Covered Expense reimbursed under section 1 of this Endorsement
      above shall be $75,000, which amount is in addition to, and not part of, the Limit of Liability set forth in ITEM 3 of the
      Declarations. Payment of such maximum aggregate limit of liability shall terminate the Insurer’s obligation to
      reimburse any further Covered Expenses under section 1 above.

3.    The Insurer’s obligation to reimburse Covered Expense under section 1 above shall be excess of a self-insured
      retention of $0 per Covered Event. The Insured shall be responsible for payment in full of such self-insured
      retention. The self-insured retention shall apply to each Covered Event, and shall be eroded (or exhausted) by the
      Insured’s payment of Covered Expense.

4.    In the event that coverage shall apply to any claim or event under two or more of clauses (A) through (H) of section 1
      above, then the Insurer’s maximum aggregate limit of liability under all such applicable clauses in respect of such
      claim or event shall not exceed the largest single available limit of liability under any such clause. Notwithstanding
      the forgoing, nothing herein is intended, nor shall it be construed, to obligate or require any payment under any such
      clause (A) through (H) of section 1 above in respect of such claim or event in any amount exceeding the available
      limit of liability under such clause.

5.    In addition to the EXCLUSIONS listed in section 6 below,

      a.    The Insurer will not pay Covered Expense under clause (D) of Section 1 above based upon, arising out of,
            directly or indirectly resulting from, in consequence of, or in any way involving:

             i.       losses caused by any fraudulent, dishonest or criminal act of the Insured or any Parent, whether
                      acting alone or in collusion with others;
             ii.      Ransom; or
            iii.      Abduction Expenses for which the Insured has coverage under any other insurance Policy, regardless
                      of whether such Policy is stated to be primary, contributory, excess, contingent, or otherwise; and

      b.    The Insurer will not pay Covered Expense under clause (H) of Section 1 above based upon, arising out of,
            directly or indirectly resulting from, in consequence of, or in any way involving any Government Billing Event
            initiated by a Recovery Audit Contractor, Medicare Administrative Contractor, Medicaid Integrity Contractor,
            Zone Program Integrity Contractor, or any other person or entity with whom the Government contracts to
            recover amounts actually or allegedly billed to the Government improperly, and who is paid by the
            Government based on a percentage of the amount recovered.



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6.    Except as otherwise expressly provided in this Endorsement, no coverage will be available under this Endorsement,
      and the Insurer will not pay Covered Expense based upon, arising out of, directly or indirectly resulting from, in
      consequence of, or in any way involving any:

      (A)   Covered Event that happened before the Inception Date of the Policy set forth in ITEM 2 of the Declarations;

      (B)   Legal Defense Event that happened before the Legal Defense Retroactive Date;

      (C)   Government Billing Event that happened before the Government Billing Legal Expense Retroactive Date

      (D)   dishonest, fraudulent, criminal or intentionally malicious act, error or omission by a Insured; or any willful
            violation of law, statute, rule or regulation by a Insured;

      (E)   obligation which a Insured has assumed under a written or oral contract or agreement; except this clause (d)
            will not apply to liability a Insured would have had in the absence of such contract or agreement.


7.    As used in this Endorsement, the following terms shall have meanings ascribed to them as follows:

      (A)   “Abduction” means the wrongful Abduction of a Covered Child by any person or group, other than a Parent,
            from any of the Insured’s facilities.

      (B)   “Abduction Expenses” means:

            (1)    Reasonable fees and expenses of an independent detective agency retained to locate a Covered Child
                   following the Abduction of such Covered Child;

            (2)    Reasonable fees and expenses of an independent public relations consultant incurred solely and directly
                   in connection with, during the period of, and up to the maximum of thirty (30) days after, an
                   Abduction;

            (3)    Reasonable cost of publicity incurred to locate a Covered Child following the Abduction of such
                   Covered Child;

            (4)    Reasonable expenses for travel and accommodation occurred by the Parent(s) of a Covered Child
                   during the period of the Abduction of such Covered Child and solely and directly resulting from such
                   Abduction;

            (5)    Other reasonable and necessary expenses incurred by the Parent(s) of a Covered Child during the
                   period of the Abduction of such Covered Child and solely and directly resulting from such Abduction;

            (6)    The salary of the Parent(s) of a Covered Child until seven (7) days after the Covered Child’s release or
                   twelve (12) months after the date of the Abduction of such Covered Child, whichever occurs first, if the
                   employer(s) of such Parent(s) fail to pay such salary;

            (7)    Costs of psychiatric counseling incurred by and for the benefit of the Parent(s) of a Covered Child for
                   twelve (12) months after the date of the Abduction of such Covered Child, but not including any
                   remuneration, salaries, overhead, or benefits expenses of the Insured;

            (8)    Costs of psychiatric counseling incurred by and for the benefit of a Covered Child for twelve (12)
                   months after the date of the Abduction of such Covered Child, but not including any remuneration,
                   salaries, overhead, or benefits expenses of the Insured; and

            (9)    A reward paid to any natural person who provided information not otherwise available leading to the
                   location of an abducted Covered Child and the arrest and conviction of the person(s) or group
                   responsible for such Abduction, if the offer of such reward is approved by law enforcement officials.


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      (C)   “Covered Child” means a child up to the age of seven (7) years.

      (D)   “Covered Event” means any Evacuation, Public Relations Event, Disinfection Event, Abduction, Personal
            Information Protection Event, Legal Defense Event, Medical Waste Event or Government Billing Event.

      (E)   “Covered Expense” means any Evacuation Expense, Public Relations Expense, Disinfection Expense,
            Abduction Expense, Personal Information Protection Expense, Legal Defense Expense, Medical Waste Civil
            Fines or Government Billing Legal Expense actually paid by the Insured as a result of any Covered Event for
            which this Endorsement provides coverage. Covered Expense shall not include fines, penalties, sanctions,
            fees, government payments or taxes, other than Medical Waste Civil Fines up to $25,000, or fines, penalties,
            sanctions, fees, government payments or taxes as a result of any HIPAA Violation up to $25,000.

      (F)   “Disinfection Event” means any case or series of cases of the MRSA virus or other facility-borne infectious
            virus, bacteria or disease that requires reporting of such case or series of cases to any local, state or federal
            governmental or healthcare oversight agency or entity.

      (G)   “Disinfection Expense” means reasonable fees and costs incurred by the Insured to clean and disinfect the
            Insured’s facility after any Disinfection Event. Disinfection Expense includes costs (a) to engage third party
            providers of cleaning/disinfection services; (b) to notify patients/residents, visitors or other potentially
            affected persons; and (c) incurred in the management of public relations with respect to such Disinfection
            Event. Disinfection Expense does not include any remuneration, salaries, overhead, fees, loss of earning
            reimbursement or benefit expenses of the Insured, or cost of cleaning/disinfecting supplies or products.

      (H)   “Evacuation” means the removal from one or more of the Insured’s facilities to any other location of a
            majority of the patients of such facility(ies) as a result of any natural or man-made occurrence that, in the
            reasonable judgment of the Insured’s management, causes or could potentially cause such facility(ies) to be
            unsafe for such patients.

      (I)   “Evacuation Expense” means reasonable costs incurred in connection with an Evacuation, including costs
            associated with transporting and lodging patients who have been evacuated. Evacuation Expense does not
            include any remuneration, salaries, overhead or benefit expenses of the Insured.

      (J)   “Government” means any federal or state (including the District of Columbia) governmental entity or agency
            acting with legal authority to implement, administer and/or enforce federal or state health benefit programs.
            For purposes of the the coverage afforded under this Endorsement, the term Government will be deemed to
            include a whistleblower.

      (K)   “Government Billing Event” means any alleged violation by the Insured of any of the statutes, regulations,
            directives or bulletins promulgated by the Government pertaining to billing for medical services under
            government-sponsored health benefit plans.

      (L)   “Government Billing Legal Expense” means reasonable fees of attorneys, experts and consultants incurred in
            the investigation, adjustment, defense and or appeal of a Government Billing Event; provided that
            Government Billing Legal Expense shall not include remuneration, salaries, overhead, fees, loss of earning
            reimbursement or benefit expenses of the Insured.

      (M)   “Government Billing Legal Expense Retroactive Date” means 7/1/17.

      (N)   “HIPAA Violation” means any proceeding brought by a government entity (other than proceedings in the
            ordinary course of the Insured’s business) alleging a violation of the privacy provisions of the Health Insurance
            Portability and Accountability Act of 1996 (HIPAA).

      (O)   “Legal Defense Event” means:




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            (1)   criminal charges, filed during the Policy Period, relating to an act, error or omission that took place on
                  or after the Legal Defense Retroactive Date set forth below, arising out of the rendering or failure to
                  render Medical Services; and
            (2)   any administrative, regulatory, disciplinary or licensure proceeding, filed or initiated during the Policy
                  Period, relating to an act, error or omission that took place on or after the Legal Defense Retroactive
                  Date, arising out of the rendering or failure to render Professional Services.

      (P)   “Legal Defense Expense” means the reasonable fees of attorneys, experts and consultants incurred in the
            investigation, adjustment, defense and or appeal of a Legal Defense Event; provided that Legal Defense
            Expense shall not include remuneration, salaries, overhead, fees, loss of earning reimbursement or benefit
            expenses of the Insured.

      (Q)   “Legal Defense Retroactive Date” means 7/1/17.

      (R)   “Medical Services” means health care, medical care, or treatment provided to any individual, including
            without limitation any of the following: medical, dental, psychiatric, mental health, chiropractic, osteopathic,
            nursing, or other professional health care; the furnishing or dispensing of medications, drugs, blood, blood
            products, or medical, dental, or psychiatric supplies, equipment, or appliances in connection with such care;
            the furnishing of food or beverages in connection with such care; the providing of counseling or other social
            services in connection with such care; and the handling of, or the performance of post-mortem examinations
            on, human bodies.

      (S)   “Medical Waste” means medical, infectious or pathological waste.

      (T)   “Medical Waste Event” means the improper storage, handling or treatment of Medical Waste, or the
            discharge, dispersal, release, escape or seepage of Medical Waste in, into, or upon land and/or structures
            thereupon, the atmosphere, surface water, or groundwater.

      (U)   “Medical Waste Civil Fines” means civil fines and/or penalties imposed on the Insured by any federal, state or
            local regulatory agency as a direct result of any Medical Waste Event. Other than as expressly set forth above,
            Medical Waste Civil Fines shall not include any costs incurred by the Insured in connection with any Medical
            Waste Event, including without limitation any costs incurred (a) in the processing, treatment or disposal of
            Medical Waste, or (b) in the remediation of Medical Waste; or (c) in the notification or treatment of patients,
            visitors or other potentially affected persons or (d) in the management of public relations with respect to
            such Medical Waste Event.

      (V)   “Insured” means the entity identified in ITEM 1 of the Declarations.

      (W)   “Parent” means the individual(s) recognized by a court of competent jurisdiction to have legal custody of a
            Covered Child.

      (X)   “Personal Information Protection” means maintaining the confidentiality of information regarding Medical
            Services or information obtained in the provision of Professional Services and limiting the release or use of
            such information in conformance with requirements of law.

      (Y)   “Personal Information Protection Event” means any HIPAA Violation, or any other failure to maintain the
            confidentiality of information regarding Medical Services or information obtained in the provision of
            Professional Services or unauthorized release or use of such information.

      (Z)   “Personal Information Protection Event Expense” means reasonable fees and costs of attorneys, experts and
            consultants, including third-party media consultants, incurred in the management or investigation of an actual
            or alleged Personal Information Protection Event. Personal Information Protection Event Expense includes
            costs incurred in (1) the management of public relations with respect to such Personal Information Protection
            Event, (2) notification of affected parties, and (3) credit monitoring if applicable, but does not include any
            remuneration, salaries or benefit expenses of the Insured. Personal Information Protection Event Expense



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                does not include any regulatory or administrative fines or penalties imposed upon the Insured as a result of a
                Personal Information Protection Event.

     (AA)       “Professional Services” means:

                (1)    Medical Services;
                (2)    the activities of an Insured as a member of a formal accreditation, standards review or similar
                       professional board or committee, including executing the directives of such board or committee;
                (3)    supervising, teaching or proctoring others at the request of the Insured; or
                (4)    reviewing the quality of Medical Services or providing quality assurance on behalf of the Insured.

     (BB)       “Public Relations Expense” means reasonable fees and costs incurred in the investigation, mitigation and/or
                defense of an actual or alleged Public Relations Event. Public Relations Expense includes costs (a) of
                attorneys, experts and consultants, including third-party media consultants; and (b) incurred in the
                management of public relations with respect to such Public Relations Event. Public Relations Expense does
                not include any remuneration, salaries, overhead, fees, loss of earning reimbursement or benefit expenses of
                the Insured.

     (CC)       “Public Relations Event” means any criminal investigation, criminal complaint, indictment, administrative
                hearing or licensing or other agency proceeding (other than proceedings in the normal course of Insured’s
                business), in any such case relating to the alleged violation or infringement of one or more state or federal
                statutes or regulations regarding:

                (1)    physical or sexual abuse;
                (2)    hiring practices and reference checking with respect to potential employees; and
                (3)    any other similar law or regulation applicable to operations of the Insured and intended to protect the
                       rights or safety of patients.

     (DD)       “Ransom” means cash surrendered by or on behalf of the Insured to meet a demand for the release of a
                Covered Child who has been the subject of an Abduction.

8.          In the event that the Insured incurs Covered Expense, the Insured shall give the Insurer written notice thereof as
            soon as practicable thereafter. Such notice shall give the full particulars of the Covered Event, including but not
            limited to, information on the time and place of the Covered Event, a description of the Covered Event, the
            identity of the Insured involved, and any other salient facts or information concerning the Covered Event.


All other terms, conditions and limitations of this Policy shall remain unchanged.




                                                                   May 29, 2018
 Authorized Representative                                         Date




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                             IRONSHORE SPECIALTY INSURANCE COMPANY
                                                   Mailing Address:
                                                  75 Federal Street
                                                      5th Floor
                                                Boston, MA 02110
                                              Toll Free: (877) IRON411

                                                     Endorsement # 5

Policy Number: 001727904                                                   Effective Date of Endorsement: July 01, 2017
Insured Name: University of Southern California



                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                               AMEND DEFINITION OF APPLICATION
In consideration of the premium charged, the term “Application, as defined in clause (A) of Section III of the Policy, is
amended to read as follows:

    (A)   “Application” means an application furnished to the Insurer (if any), and all other documents, materials or other
          information furnished or available, and all other statements made, to the Insurer and to the issuer(s) of the
          Underlying Insurance, whether directly or indirectly, concerning the business and/or operations of the Insured.


ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS OF THIS POLICY REMAIN UNCHANGED.




                                                              May 29, 2018
 Authorized Representative                                    Date




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                             IRONSHORE SPECIALTY INSURANCE COMPANY
                                                    Mailing Address:
                                                   75 Federal Street
                                                       5th Floor
                                                 Boston, MA 02110
                                               Toll Free: (877) IRON411

                                                     Endorsement # 6

Policy Number: 001727904                                                     Effective Date of Endorsement: July 01, 2017
Insured Name: University of Southern California



                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                  EBOLA EXPENSE REIMBURSEMENT
In consideration of the premium charged, the Additional Coverage Endorsement attached to this Policy is amended as
follows:

(1)     Section 1 is amended by adding the following thereto:
        (I)   Ebola Event Expense Reimbursement Insurance
              Upon satisfactory proof of payment by the Insured, the Insurer will reimburse the Insured up to $25,000 for
              Ebola Event Expense actually paid by the Insured during the Policy Period in connection with an Ebola
              Event occurring during the Policy Period, provided that the Insurer will have no liability whatsoever for
              fines, penalties, assessments of costs or other financial awards associated with any such Ebola Event.

(2)     Section 4 is amended to read as follows:
        In the event that coverage shall apply to any claim or event under two or more of clauses (A) through (I) of Section
        1 above, then the Insurer’s maximum aggregate limit of liability under all such applicable clauses in respect of such
        claim or event shall not exceed the largest single available limit of liability under any such clause. Notwithstanding
        the forgoing, nothing herein is intended, nor shall it be construed, to obligate or require any payment under any
        such clause (A) through (I) of Section 1 above in respect of such claim or event in any amount exceeding the
        available limit of liability under such clause.

(3)     Clause (D) of Section 7 is amended to read as follows:
        (D)   “Covered Event” means any Ebola Event, Evacuation, Public Relations Event, Disinfection Event,
              Abduction, Personal Information Protection Event, Legal Defense Event, Medical Waste Event or
              Government Billing Event.

(4)     The first sentence of clause (E) of Section 7 is amended to read as follows:
        (E)   “Covered Expense” means any Ebola Event Expense, Evacuation Expense, Public Relations Expense,
              Disinfection Expense, Abduction Expense, Personal Information Protection Expense, Legal Defense
              Expense, Medical Waste Civil Fines or Government Billing Legal Expense actually paid by the Insured as a
              result of any Covered Event for which this Endorsement provides coverage.




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(5)     Section 7 is amended by adding the following Definitions thereto:
        “Ebola Event” means the pre or post diagnosis triage, care and/or treatment at an Insured’s facility of any person
        (other than an Insured) suffering from the Ebola virus infection, as confirmed by the Centers for Disease Control,
        whether such person is admitted or not.

         “Ebola Event Expense” means reasonable fees and costs incurred by the Insured to:
               (a)    purchase specialized equipment and/or materials for use in treating persons with Ebola (such as
                      HazMat suits or other personal protective gear), or otherwise controlling the spread of the Ebola
                      virus;
               (b)    clean and disinfect the Insured’s facility (or any portion thereof) after any Ebola Event, including
                      costs to dispose of Ebola-contaminated materials or waste and/or to engage third party providers of
                      cleaning/disinfection services;
               (c)    notify patients, visitors or other potentially affected persons of the Ebola Event; and
               (d)    manage public relations with respect to such Ebola Event. Ebola Event Expense does not include any
                      remuneration, salaries, overhead, fees or loss of earning reimbursement or benefit expenses of the
                      Insured.



All other terms and conditions of this Policy remain unchanged.




                                                                  May 29, 2018
 Authorized Representative                                        Date




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                              IRONSHORE SPECIALTY INSURANCE COMPANY
                                                      Mailing Address:
                                                     75 Federal Street
                                                         5th Floor
                                                   Boston, MA 02110
                                                 Toll Free: (877) IRON411

                                                       Endorsement # 7

 Policy Number: 001727904                                                      Effective Date of Endorsement: July 01, 2017
 Insured Name: University of Southern California



                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

         UNAUTHORIZED PERSONAL INFORMATION DISCLOSURE EXCLUSION
In consideration of the premium charged,

    1.     Notwithstanding anything to the contrary contained in the Primary Policy or any Underlying Insurance, no
           coverage will be available under this Policy for loss or damages, including costs of defense, based on or arising
           out of any Unauthorized Personal Information Disclosure.

    2.     For purposes hereof:
           a.    “Unauthorized Personal Information Disclosure” means:
                  I.        any access to, collection of, release of, disclosure of any person’s or organization’s confidential
                            or personal information, including patient’s lists, financial information, credit card information,
                            health or medical information or any other type of nonpublic information; including but not
                            limited to violations of Health Insurance Portability and Accountability Act of 1996 (HIPAA) and
                            any amendments thereto, whether the claim is made by or on behalf of a private individual,
                            entity, or government agency; or
                  II.       loss of, loss of use of, damage to, corruption of, inability to access, or inability to manipulate
                            Electronic Data.

           b.    “Electronic Data” means any information, facts or programs stored as or on, created or used on, or
                 transmitted to or from computer software, including systems and applications software, hard or floppy
                 disks, CD-ROMs, tapes, drives, cells, data processing devices or any other media which are or may be used
                 with electronically controlled equipment or other electronic backup facilities, and data transmission or
                 storage by means of the Internet. “Electronic Data” is not tangible property.

    3.     For purposes of determining when coverage under this Policy shall attach, the Insurer will not recognize erosion
           of the Insured’s self-insured retention by reason of payment(s) by the Insured, or any party on behalf of the
           Insured, of any loss or damages, including costs of defense, in connection with an Unauthorized Personal
           Information Disclosure; nor will the Insurer recognize erosion of the limits of liability of any Underlying
           Insurance by reason of payment(s) by the issuers of such Underlying Insurance and/or the Insured and/or any
           other party on behalf of the Insured, of any loss or damages, including costs of defense, in connection with an
           Unauthorized Personal Information Disclosure.


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All other terms and conditions of this Policy remain unchanged.




                                                                  May 29, 2018
 Authorized Representative                                        Date




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